Case 2:04-cr-20424-.]P|\/| Document 63 Filed 06/01/05 Page 1 of 2 Page|D 90

 
  
   

lN THE UN|TED STATES DlSTRlCT COURT ;;l,;g ;g-{__`_ y

 

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FoR THE WESTERN DlSTRlCT oF TENNESSEE -- j
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P|aintif'f,
vs. cr. No. 04-20424-Ml
DERRch THoMAs

Defendant.

 

ORDER GRANT|NG DEFENDANT’S MOT|ON
TO CONT|NUE SENTENC|NG HEAR|NG

 

For good cause, the Court hereby GRANTS defendants motion to continue and
resetthe Sentencing hearing in this matter currently Set for Wednesday, June 1,2005. The

eentencing hearing is hereby RESET for: diiwdmj \)ili’d’ 9)9/2) ZY(I§¢U" gi%€£m'

 

lt is 30 oRoEREo, this the J\ day of milk ,2005.

nw

JO PHIPPS McCALLA
ited States District Court Judge

   
 

Thie document entered ore ice docket hth in compliance
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This notice confirms a copy of the document docketed as number 63 in
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Honorable J on McCalla
US DlSTRlCT COURT

